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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF NEVADA


ABLE CANTARO CASTILLO, et al.,   )              3:16-CV-0237-RCJ-CLB
                                 )
            Plaintiffs,          )              MINUTES OF THE COURT
                                 )
        vs.                      )              April 6, 2020
                                 )
WESTERN RANGE ASSOCIATION,       )
et al.,                          )
                                 )
            Defendants.          )
________________________________ )

PRESENT: THE HONORABLE CARLA BALDWIN, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:                LISA MANN             REPORTER: NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

        A telephonic hearing on plaintiffs’ motion for protective order (ECF No. 182) and the
motions to compel (ECF Nos. 185 & 188) is set for Tuesday, April 14, 2020 at 9:00 a.m.,
before United States Magistrate Judge Carla Baldwin in Courtroom One, 400 S. Virginia
Street, Reno, Nevada 89501. Counsel shall dial 877-336-1829 at least five (5) minutes
prior to the hearing to be properly connected into the courtroom. The access code is
2809752 and the security code is 16237.

       The parties shall be prepared to discuss the discovery plan and scheduling order
(ECF No. 174), including any agreement in the record as to the specific timing and/or
sequencing of depositions. Plaintiffs shall also be prepared to update the court on the
status of Mr. Cantaro Castillo’s visa.

      IT IS SO ORDERED.

                                                DEBRA K. KEMPI, CLERK

                                                 By:          /s/
                                                       Lisa Mann, Deputy Clerk
